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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

NOBERTO TORRES,
PETITIONER

CASE NO. 3:19-cv-00248-SPM

BROOKMAN et, al.
RESPONDENT.

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CERTIFICATE OF SERVICE

I hereby certify that on October___ of 2022 the foregoing document,
Plaintiff's Notice Of Appeal was electronically sent to The United States District
Court by the system set in place at Pinckneyville Correctional Center's Law Library.

Respectfully Submitted,

NOBERTO TORRES, #R-74153 atl A.

PINCKNEYVILLE, CORRECTIONAL CENTER
5835 State Route 154 “NOBERTO TORRES

Pinckneyville, II 62274 PLAINTIFF, PRO-PER

 
Case 3:19-cv-00248-SPM Document 50 Filed 10/17/22 Page 2o0f3 Page ID #383

UNITED STATES DESTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOTS

NOBERTO TORRES

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PETITIONER NOTICE OF APPEAL

CASE NO. 3:19-cv-00248-SPM

VS.

BROOKMAN et, al.

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RESPONDENT
NOTICE OF APPEAL

Notice is hereby given that NOBERTO TORRES » above named, appeals to the United
States Court of Appeals for the /th Circuit from the SOUTHERN DISTRICT OF ILLINOIS
ON A JUDGEMENT ENTERED AND APPROVED BY JUDGE STEPHEN P. McGLYNN ON 9/15/2022

 

 

{attach extra page if necessary)
entered in this action on 9/15/2022

 

Subscribed and Sworn To Before Me

This [4 Day of Coteher, » 202

dU PUBLIC SEAL

    
   
   

DANA NEWTON
OFFICIAL SEAL
Notary Public - State of Illinois

My Commission Expires Aug 19, 2024

  

 
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF ILLINOIS
prisoner.esi@ilsd.uscourts.gov

 

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Please note that discovery requests and responses are NOT to be filed, and should be forwarded
to the attorney(s) of record. Discovery materials sent to the Court will be returned unfiled.
